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                         UNITED STATES DISTRICT COURT
                          DISTRICT OF MASSACHUSETTS


Great Divide Insurance Company,
              Plaintiff,                                CIVIL ACTION NO. 15-14146-RGS

      v.

Lexington Insurance Company,
              Defendants.



                                       JUDGMENT


Stearns D. J.

      In accordance with the Court’s Order (dkt. no. 40) dated 11/6/2017

granting the defendants’ Motion for Summary Judgment (dkt. no. 16) it is hereby

ORDERED:             Judgment in favor of the Plaintiff, Great Divide Insurance Company




                                                               By the Court,
11/6/2017                                                      /s/ Stephanie Caruso
Date                                                           Deputy Clerk
